Case 8:05-cr-00084-JSM-TGW Document 65 Filed 11/03/05 Page 1 of 6 PageID 139
Case 8:05-cr-00084-JSM-TGW Document 65 Filed 11/03/05 Page 2 of 6 PageID 140
Case 8:05-cr-00084-JSM-TGW Document 65 Filed 11/03/05 Page 3 of 6 PageID 141
Case 8:05-cr-00084-JSM-TGW Document 65 Filed 11/03/05 Page 4 of 6 PageID 142
Case 8:05-cr-00084-JSM-TGW Document 65 Filed 11/03/05 Page 5 of 6 PageID 143
Case 8:05-cr-00084-JSM-TGW Document 65 Filed 11/03/05 Page 6 of 6 PageID 144
